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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                          §
                                                  §
vs.                                               §                NO. 1:20-CR-289-RP-11
                                                  §
Nolan Fogleman (11)                               §

                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

TO: THE HONORABLE ROBERT PITMAN
    UNITED STATES DISTRICT JUDGE

      The Magistrate Judge submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States

Magistrate Judge for the taking of the defendant’s felony guilty plea and for his allocution

pursuant to Federal Rule of Criminal Procedure 11.

      On October 14, 2021, the defendant and counsel appeared before the Magistrate Judge.

Counsel were admonished as required by the Due Process Protection Act. The undersigned

addressed the defendant personally in open court, informed him of the admonishments under

Rule 11 of the Federal Rules of Criminal Procedure, and determined that he understood those

admonishments. Pursuant to a plea agreement, the defendant pled guilty to one count of

Conspiracy to Maintain a Drug-Involved Residence, in violation of 21 U.S.C. §§ 846 and 856.

      The Magistrate Judge finds the following:

         1. The defendant, with the advice of his attorney, consented to enter this guilty plea
            before the Magistrate Judge, subject to final approval and sentencing by the District
            Judge;
         2. The defendant fully understands the nature of the charge against him and possible
            penalties;
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       3. The defendant understands his constitutional and statutory rights, understands that his
          constitutional and statutory rights can be waived, and understands the meaning and
          effect of the waiver of his constitutional and statutory rights;
       4. The defendant waived prosecution by indictment;
       5. The defendant’s plea was made freely and voluntarily;
       6. The defendant is competent to enter this plea of guilty; and
       7. There is a factual basis for this plea.

                                     RECOMMENDATION

   The Magistrate Judge RECOMMENDS that the District Court accept the defendant’s guilty

plea and, after reviewing the presentence investigation report, enter a Final Judgment of guilt

against him.

                                           WARNING

   The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being

made. The District Court need not consider frivolous, conclusive, or general objections. See

Battle v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987). A party’s failure to

file written objections to the proposed findings and recommendations contained within this

Report within fourteen (14) days after being served with a copy of the Report shall bar that party

from de novo review by the District Court of the proposed findings and recommendations and,

except on grounds of plain error, shall bar the party from appellate review of proposed factual

findings and legal conclusions accepted by the District Court to which no objections were filed.

See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53, 106 S. Ct. 466, 472-74

(1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

   SIGNED on October 14, 2021.


                                                    SUSAN HIGHTOWER
                                                    UNITED STATES MAGISTRATE JUDGE
